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                       UNITED STATES DISTRICT COURT
                         DISTRICT OF CONNECTICUT

CONFIGAIR LLC,                             )
                                           )     LEAD DOCKET NO.
     Plaintiff/Counterclaim Defendant,     )     3:17-CV-02026-JBA
                                           )     U.S.D.C./NEW HAVEN
     v.                                    )
                                           )     Judge Janet Bond Arterton
HENRY KURZ,                                )
                                           )
     Defendant/Counterclaimant.            )




 CONFIGAIR LLC’S REPLY TO HENRY KURZ’S SUBSTITUTED MEMORANDUM
  OF LAW IN OPPOSITION TO MOTION FOR JUDGMENT ON THE PLEADINGS
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         ConfigAir LLC, Daniel Naus, Nizwer Husain, and Dung Nguyen (collectively,

“ConfigAir”) respectfully submit this Reply to the Substituted Memorandum of Law in

Opposition to Motion for Judgment on the Pleadings (“Substituted Opposition”) filed by Henry

Kurz (“Kurz”) [Dkt. 92].

         On October 31, 2018, ConfigAir filed its Motion for Judgment on the Pleadings

(“Motion”) [Dkt. 49] as to Counts I and II of ConfigAir’s Second Amended Complaint [Dkt. 43]

and as to Counts I through X of Kurz’s Counterclaim [Dkt. 46]. Kurz filed his original

Memorandum of Law in Opposition to ConfigAir’s Motion on November 21, 2018 [Dkt. 52] and

ConfigAir filed its Reply in Further Support of its Motion on December 6, 2018 [Dkt. 63].

         On February 7, 2019, ConfigAir filed a Motion for Sanctions pursuant to Rule 11 of the

Federal Rules of Civil Procedure based on the lack of evidentiary support for certain allegations

in Kurz’s Counterclaim [Dkt. 46] and his Memorandum of Law in Opposition to ConfigAir’s

Motion [Dkt. 52]. By Order dated April 5, 2019, the Court denied ConfigAir’s Motion for

Sanctions as premature and permitted Kurz 21 days to make any necessary amendments or

substitutions to his pleadings [Dkt. 81]. Pursuant to that Order, on April 26, 21019, Kurz filed his

Amended Counterclaim [Dkt. 91] and Substituted Memorandum of Law in Opposition to Motion

for Judgment on the Pleadings [Dkt. 92].

         The amended factual allegations in Kurz’s Amended Counterclaim and Substituted

Opposition, while significant and imperative to address the factual misstatements in his prior

filing,1 are not material to the legal arguments raised in ConfigAir’s Motion. Rather than filing a

reply memorandum that is substantially identical, ConfigAir hereby incorporates by reference its


1
  In the context of its Motion for Sanctions only, ConfigAir concedes that the amended allegations in Kurz’s
Amended Counterclaim and Substituted Opposition are sufficient to address the specific Rule 11 violations raised by
ConfigAir. ConfigAir disputes the accuracy of Kurz’s amended allegations and further disputes that those
allegations, even if accepted as true, give rise to a legally cognizable claim against ConfigAir or any of its members.


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original Reply Memorandum in Further Support of Motion for Judgment on the Pleadings [Dkt.

63], which is attached hereto as Exhibit A.

       For the reasons set forth in ConfigAir’s Memorandum in Support of Motion for Judgment

on the Pleadings [Dkt. 49-1] and its Reply in Further Support [Dkt. 63], ConfigAir respectfully

requests that the Court grant its Motion and enter judgment in ConfigAir’s favor on Counts I and

II of the Second Amended Complaint and dismiss, with prejudice, Counts I through X of Kurz’s

Amended Counterclaim.



Dated: May 10, 2019                                Respectfully submitted,

                                                   /s/ Rebecca A. Brazzano
OF COUNSEL:                                        Rebecca A. Brazzano (18443)
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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 10th day of May, 2019, a true copy of the foregoing REPLY

TO HENRY KURZ’S SUBSTITUTED MEMORANDUM OF LAW IN OPPOSITION TO

MOTION FOR JUDGMENT ON THE PLEADINGS was filed electronically. Notice of this

filing will be sent by e-mail to all parties by operation of the Court’s electronic filing system or

by mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic

Filing. Parties may access this filing through the Court’s CM/ECF System.


                                              /s/ Rebecca A. Brazzano
                                              Rebecca A. Brazzano




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